                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN

PAUL R. CONFORTI,
          Plaintiff,
     v.                                                  Case No. 20-C-0349

CITY OF FRANKLIN, et al.,
           Defendants.
______________________________________________________________________

                                 DECISION AND ORDER

       Paul Conforti brings this action under 42 U.S.C. § 1983 and alleges that two City

of Franklin police officers used excessive force during an arrest. The case is set for a jury

trial. In a separate order issued today, I addressed the parties’ motions in limine that

pertained to expert testimony. In this order, I address the parties’ remaining motions in

limine, which relate to a variety of issues.

A.     Admissibility of Plaintiff’s Prior Convictions
       Each party has filed a motion in limine regarding the admissibility of the plaintiff’s

convictions. Plaintiff has three felony convictions for forgery dated October 30, 2009, and

three misdemeanor convictions for theft dated March 7, 2007. The parties agree that

more than ten years have passed since these convictions were entered or the plaintiff

was released from confinement in connection with them. Thus, the convictions cannot

be used to attack the plaintiff’s character for truthfulness unless the defendants show

through specific facts and circumstances that the probative value of the convictions

substantially outweighs their prejudicial effect. Fed. R. Evid. 609(b). The Seventh Circuit

has noted that impeachment by a conviction falling outside the rule’s ten-year time limit

should be permitted only in rare and exceptional circumstances. United States v. Rogers,

542 F.3d 197, 201 (7th Cir. 2008).



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       I conclude that the defendants have not made the required showing. Although the

convictions for forgery involved dishonesty and thus relate to the plaintiff’s character for

truthfulness, the convictions are very old, with the most recent having been entered

thirteen years ago. Since that time, the plaintiff has not been convicted of a crime. This

history suggests that the convictions are no longer probative of the plaintiff’s credibility.

See United States v. Shapiro, 565 F.2d 479, 481 (7th Cir. 1977). The Seventh Circuit has

held that a district court may exclude even perjury convictions that are older than 10 years,

so the mere fact that these convictions relate to dishonesty does not make them

admissible. See United States v. Gray, 410 F.3d 338, 346 (7th Cir. 2005). Further, the

prejudicial effect of the convictions is high, in that they may suggest to the jury that the

plaintiff is a bad person who is not entitled to redress for his injuries regardless of the

merits of his claims. Therefore, I conclude that the probative value of the convictions does

not substantially outweigh their prejudicial effect.

       The defendants also contend that the convictions are relevant to the plaintiff’s

claim for emotional-distress damages because a psychiatrist diagnosed the plaintiff with

PTSD and depression while he was incarcerated in 2009. In assessing whether the

defendants may use the evidence for this purpose, I employ the general relevance

standard of Rule 401 and the balancing test of Rule 403, rather than Rule 609(b). See

Barber v. City of Chicago, 725 F.3d 702, 712 (7th Cir. 2013). And I conclude that the

evidence of the convictions is inadmissible under these standards. The psychiatric

diagnosis was not based on the convictions themselves, but on various factors involving

the plaintiff’s lifestyle at the time. There is no evidence that the imprisonment or the

convictions from more than ten years ago are having any effect on the plaintiff’s current

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mental state. Thus, the probative value of the convictions is substantially outweighed by

the danger of unfair prejudice. The plaintiff’s motion to exclude the convictions will be

granted, and the defendants’ motion to admit them will be denied.

B.     Evidence Relating to Plaintiff’s Personal Life

       The plaintiff argues that evidence of various aspects of his personal life that were

uncovered during discovery should not be admitted at trial because they are irrelevant

and because any probative value of the evidence is substantially outweighed by a danger

of unfair prejudice.

       1. Sexual Orientation

       First, the plaintiff contends that evidence concerning his sexual orientation is

inadmissible. The only evidence in the record concerning the plaintiff’s sexual orientation

is a passage from his deposition in which he admitted that, in 2009 or earlier, he lived

with a male roommate who wanted to have a sexual relationship with him. The plaintiff

told the roommate that he was not gay, and eventually the plaintiff stopped living with the

person.

       The defendants contend that evidence of the plaintiff’s sexual orientation is

relevant to damages because it may be a source of his claimed emotional distress.

However, the defendants have no evidence that the plaintiff has struggled with his sexual

orientation or that his sexual orientation otherwise causes him mental distress. For this

reason, any questions about the plaintiff’s sexual orientation would serve no purpose than

to harass or try to embarrass the plaintiff. Thus, evidence about the plaintiff’s sexual

orientation is inadmissible. See Fed. R. Evid. 402 & 403.

       2. Living Arrangements/Homelessness

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       The plaintiff next contends that evidence of his “prior or current living

arrangements, including homelessness” should be excluded. The plaintiff’s motion

originally focused on a passage from his deposition in which he referenced “couch

hopping” and being homeless at some point prior to his incarceration in 2009. I agree with

the plaintiff that this evidence is not relevant to any issue in the case. Although the plaintiff

seeks damages for emotional distress, there is no evidence that his homelessness

thirteen years ago might still be a source of emotional distress.

       But there is also evidence in the record that the plaintiff is currently a truck driver

who sleeps in his truck and lives out of truck stops. I think it is fair to say that the plaintiff’s

current living situation is relevant to his mental well-being. Even if the plaintiff denies that

his living situation is a source of stress, the defendants may fairly ask about it and

plausibly argue that it is a cause of his depression. Moreover, the plaintiff contends that

his encounter with the officers has led to a loss of sleep. The plaintiff’s lifestyle of living

on the road is relevant as a potential alternative cause of his sleeplessness. Finally, the

evidence does not present a danger of unfair prejudice. A jury is not likely to look down

at the plaintiff because he drives a truck for a living and mostly lives on the road.

Accordingly, evidence of the plaintiff’s current work and living situations is admissible.

       3. Plaintiff’s Relationship with His Mother

       The plaintiff also moves to exclude evidence that he is estranged from his mother.

Again, however, the plaintiff seeks damages for emotional distress. Because family

issues are often a source of mental distress, the defendants have a right to ask the plaintiff

about this on cross-examination. But I do not intend to allow extensive questioning on this



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point—I will not allow a mini-trial about the plaintiff’s relationship with his mother to

develop.

       4. Plaintiff’s Employment History

       The plaintiff next contends that evidence of his employment history and work

performance prior to his encounter with the defendants is inadmissible as irrelevant and

unfairly prejudicial. He specifically points to evidence that he was terminated from, or quit,

jobs at several trucking companies between 2011 and 2018 and was rejected for several

jobs because of his criminal history. Because the plaintiff is not seeking compensation for

loss of earning capacity, I generally agree that this evidence is irrelevant.

       The defendants contend that the plaintiff’s work history is relevant to his claim for

emotional-distress damages. However, no evidence connects the plaintiff’s past

employment issues with his current mental state. If the defendants believe that the

plaintiff’s current employment (or lack thereof) is a source of stress, they may ask him

questions about it on cross-examination. But they may not introduce evidence of the

plaintiff’s employment history from prior to his encounter with the defendants to suggest

that it is the actual cause of his post-encounter emotional distress.

C.     Evidence Concerning City            of       Franklin   Police    Department   Internal
       Investigation Procedures

       The defendants move to exclude evidence concerning the City of Franklin Police

Department’s internal policies and procedures. The defendants note that the plaintiff has

not brought a claim against the City under Monell v. Department of Social Services, 436

U.S. 658 (1978), and that therefore evidence concerning its internal policies and

procedures would be irrelevant. Although the plaintiff opposes this motion, he has not


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identified any evidence of internal policies that he intends to use at trial or explained how

that evidence might be relevant to his claims. Because I cannot envision any way in which

evidence of the City’s internal policies might be relevant, I will grant the defendants’

motion and exclude all such evidence under Federal Rule of Civil Procedure 402.

D.     Evidence or Argument Concerning Matters Unknown to the Officers

       The defendants move to exclude evidence concerning three facts of which they

claim they were unaware when they decided to arrest and use force on the plaintiff: (1)

the plaintiff was unarmed, (2) the plaintiff intended to leave the hospital when he walked

outside, and (3) the plaintiff was diagnosed with, or experienced the symptoms of,

Asperger’s Syndrome or any other mental-health condition during the incident.

       1. Evidence that Plaintiff was Unarmed

       The defendants contend that evidence that the plaintiff was unarmed should be

excluded because matters not known to the officers at the time that they made the

decision to use force are not relevant to the objective reasonableness of the use of force.

See Sherrod v. Berry, 856 F.2d 802 (7th Cir. 1988). In the present case, however, there

is evidence that the officers learned that the plaintiff was unarmed during their pat-down

search. After the search, the defendants used force on the plaintiff, including by

decentralizing him, delivering knee strikes, removing him from the backseat of the squad

car, pinning him to the ground, and restraining him in the wrap. Thus, the plaintiff’s having

been unarmed was part of the totality of the circumstances faced by the officers at the

time they made the decision to use such force and is relevant and admissible.

       It may be true that the officers did not know that the plaintiff was unarmed when

they first made contact with him and ordered him to remove his hands from his pocket.

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However, the plaintiff is not pursuing a claim based on this initial contact. Moreover, the

officers do not claim that any force that they used on the plaintiff after he was placed in

handcuffs was based on their uncertainty over whether he was armed. Thus, allowing the

jury to hear evidence that the plaintiff was unarmed during the entire encounter would not

present a danger of unfair prejudice or one of the other factors identified in Rule 403, as

it would if the officers were claiming that they used lethal force on the plaintiff due to their

belief that he was about to use a weapon. Accordingly, evidence that the plaintiff was

unarmed is admissible at trial.

       2. Evidence that the Plaintiff Intended to Leave the Hospital

       The defendants next contend that evidence that the plaintiff was in the process of

leaving the hospital premises when the defendants approached him is irrelevant because

the officers could not have known the plaintiff’s subjective intentions when they made the

decision to approach him. Initially, I note that, because the plaintiff is not bringing a claim

based on the officers’ decision to detain him, the plaintiff’s having had the intent to leave

the hospital would not be relevant to any claim even if the officers were aware of that fact.

However, the facts leading up to the plaintiff’s encounter with the officers are generally

relevant as background facts and should be admitted unless there is a danger of unfair

prejudice. It would be awkward to allow testimony about the officers’ encounter with the

plaintiff but not allow the plaintiff to explain why he was standing outside the hospital at

that time. Prohibiting testimony about why he was outside might even unfairly prejudice

the plaintiff’s case, for the jury might wonder what he was doing outside if he testifies that

he went outside but cannot explain why. At the same time, there is no danger that this

testimony would present a danger of unfair prejudice to the defendants. The officers seem

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to think that, if the plaintiff testifies that he was about to leave the hospital, the jury might

think that the plaintiff was less of a threat than the officers thought he was. But again, the

plaintiff is not bringing a claim alleging that the officer’s initial decision to detain and lay

hands on him was unlawful, and so the jury will not be asked to evaluate whether the

officers reasonably viewed the plaintiff as a threat when they first encountered him. In any

event, the jury’s learning that the plaintiff was planning to leave the hospital before the

officers approached him is not at all likely to cause them to decide the case on improper

grounds. Accordingly, the defendants’ motion to exclude this evidence will be denied.

       3.     Evidence of Asperger’s Syndrome

       The defendants argue that the plaintiff should be precluded from introducing

evidence that he has been diagnosed with Asperger’s Syndrome or that he was

experiencing symptoms of any mental-health condition during his encounter with the

officers because that information was unknown to the officers at the time. I agree that

evidence of this kind is inadmissible to prove that the officers used unreasonable force.

However, such evidence is relevant to the plaintiff’s claim that he is entitled to damages

for emotional distress. As part of his claim for such damages, the plaintiff is entitled to

present evidence that he suffers from mental conditions that affect the way that he

experiences stressful events and that worsen the symptoms of post-traumatic stress.

Accordingly, I will grant the motion to the extent that evidence of the plaintiff’s mental

condition may not be used to prove that the officers acted unreasonably and deny the

motion to the extent that such evidence may be used to prove emotional-distress

damages.



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E.     Exclude Evidence or Opinions Critical of Events that Occurred before the
       Plaintiff was Handcuffed

       The defendants seek to exclude testimony and opinions that are critical of

decisions that the officers made prior to the time they handcuffed the plaintiff. The

defendants argue that, because the plaintiff is not pursuing claims based on the officers’

conduct up through the handcuffing, such evidence would be irrelevant. The defendants

identify seven specific topics that they believe should be off limits: (1) the plaintiff was not

committing a crime before the officers approached him; (2) the officers improperly

investigated the reported disturbance before they approached the plaintiff outside; (3) the

officers did not have a legal basis to approach the plaintiff outside or approached him

improperly; (4) the officers did not have a legal basis to order the plaintiff to remove his

hand from his pocket when they approached him; (5) the plaintiff was not actively resisting

but instead experienced a “startle response” when the officers grabbed his arm; (6) the

plaintiff did not present a threat to the officers before he was handcuffed; and (7) the

officers did not have a legal basis to handcuff, detain, or arrest the plaintiff.

       The plaintiff concedes that some of the above testimony is inadmissible,

specifically evidence that the plaintiff was not committing a crime and evidence that the

officers did not have a legal basis to approach the plaintiff or that they approached him

improperly. However, the plaintiff contends that evidence criticizing the officers in

connection with the other matters is admissible because it forms part of the totality of the

circumstances that the officers faced. I disagree. The plaintiff’s claims relate to the

officers’ decisions to use force after the plaintiff was handcuffed. Whether those decisions

were reasonable turns on the plaintiff’s conduct after he was handcuffed, i.e., whether he


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was spitting at the officers, trying to kick them, or otherwise resisting arrest. Whether the

officers made mistakes prior to when they handcuffed the plaintiff is entirely irrelevant to

whether they properly used force in response to the plaintiff’s post-handcuffing conduct.

For example, whether the officers improperly ordered the plaintiff to remove his hand from

his pocket when they first encountered him has no bearing on whether the officers acted

reasonably in decentralizing him after the plaintiff spit at them. Thus, any testimony about

the propriety of the officers’ actions before the handcuffing is inadmissible as irrelevant.

The evidence is also inadmissible under Rule 403 because it would present a danger of

confusing the jury about the issues to be decided at trial.

       I note, however, that this does not mean that evidence that merely narrates the

events that occurred prior to the handcuffing is inadmissible. The defendants concede

that such evidence is admissible to provide context for what happened next. (ECF No. 79

at 2.) What is inadmissible is opinions or other testimony that criticizes the officers’ pre-

handcuffing conduct or suggests that the conduct was unlawful. Again, the propriety of

the officers’ pre-handcuffing conduct is not relevant to any matter in issue, and evidence

on that point would present a danger of confusing the issues.

F.     Exclude Evidence Regarding Liability Insurance, Liability Insurance
       Carriers, and Indemnification Rights
       The defendants move to exclude any evidence that the officers or the City of

Franklin are insured against § 1983 liability and any evidence that the City of Franklin

must pay any judgment entered against the officers under state law. The plaintiff does not

argue that evidence of the City of Franklin’s duty to indemnify should be admitted, but he

contends that evidence of liability insurance should be admitted because he has brought

a claim against the insurer under Wisconsin’s direct-action statute, Wis. Stat. § 632.24.
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However, the claim under the direct-action statute is invalid, as the statute applies only

when the underlying cause of action is for negligence. See Johnson v. Sprung, No. 14-

CV-1408, 2016 WL 11663764, at *3 (E.D. Wis. Dec. 21, 2016); Mombourquette v.

Wisconsin Counties Mut. Ins. Corp., No. 05-C-748, 2006 WL 1236732, at *1 (W.D. Wis.

May 3, 2006). Here, the plaintiff’s claim is for violation of 42 U.S.C. § 1983, and therefore

the plaintiff has no direct claim against the liability carrier. Moreover, the plaintiff does not

contend that evidence of insurance coverage is admissible for any permissible purpose

identified in Federal Rule of Civil Procedure 411, and therefore evidence of insurance

coverage must be excluded under that rule and under Rule 402 because such evidence

is irrelevant.

G.     Remove City of Franklin and League of Wisconsin Municipalities Mutual
       Insurance from the Caption, Jury Instructions, Verdict, and Exhibits
       Displayed to the Jury
       The defendants contend that, because evidence of insurance coverage and the

City of Franklin’s duty to pay a judgment entered against the officers is inadmissible, both

the insurance carrier (League of Wisconsin Municipalities Mutual Insurance) and the City

of Franklin should be removed from the caption of all court papers shown to the jury. The

plaintiff responds by stating that the jury has a right to know who the parties are. The

plaintiff cites no authority for this proposition, and I am aware of none. The only claims

being tried are the claims against the officers in their individual capacities. As noted

above, the plaintiff does not have a valid claim against the liability carrier. The jury does

not need to know that the plaintiff improperly named it as a party. Further, the jury will not

be asked to decide matters relating to the City of Franklin’s obligation to pay any judgment

entered against the officers under Wis. Stat. § 895.46. For these reasons, any references

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to the liability carrier or the City of Franklin as parties to this case would only create a

danger of confusing the jury. I will therefore grant this motion in limine and require that

the liability carrier and the City of Franklin be removed from the caption of any court

documents shown to the jury.

H.     Miscellaneous Undisputed Motions

       The plaintiff does not oppose several of the defendants’ motion in limine. In this

section, I will identify the undisputed motions to confirm that they will be granted: (1)

precluding “Golden Rule” and similar arguments; (2) exclude testimony, evidence, and

references to other law enforcement cases, protests, movements, and organizations; (3)

require the parties to identify and disclose, prior to opening statements, demonstrative

evidence intended to be used during opening statements; (4) preclude statements from

counsel regarding the credibility of evidence; (5) sequester nonparty witnesses; (6)

preclude testimony, evidence, or argument regarding prior lawsuits, claims, and

complaints; and (7) preclude any mention of settlement offers or negotiations.

                                      CONCLUSION
       For the reasons stated, IT IS ORDERED that the plaintiff’s motion to exclude

evidence of his criminal convictions (ECF No. 54) is GRANTED. The defendants’

corresponding motion to admit evidence of the convictions (ECF No. 43) is DENIED.

       IT IS FURTHER ORDERED that the plaintiff’s motion to exclude evidence

concerning his personal life and job history (ECF No. 54) is GRANTED IN PART and

DENIED IN PART, as explained above.




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      IT IS FURTHER ORDERED that the defendants’ motion to exclude evidence

concerning the City of Franklin Police Department’s internal policies and procedures (ECF

No. 43) is GRANTED.

      IT IS FURTHER ORDERED that the defendants’ motion to exclude evidence

concerning events unknown to the officers (ECF No. 43) is GRANTED IN PART and

DENIED IN PART, as explained above.

      IT IS FURTHER ORDERED that the defendants’ motion to exclude evidence or

opinions critical of the officers’ pre-handcuffing conduct (ECF No. 43) is GRANTED.

      IT IS FURTHER ORDERED that the defendants’ motion to exclude evidence

regarding liability insurance or indemnification rights (ECF No. 43) is GRANTED.

      IT IS FURTHER ORDERED that the defendants’ motion to remove the City of

Franklin and the League of Wisconsin Municipalities Mutual Insurance from the caption,

jury instructions, verdict form, and exhibits displayed to the jury (ECF No. 43) is

GRANTED.

      IT IS FURTHER ORDERED that the motions in limine identified as undisputed in

Part H of this opinion are GRANTED.

      FINALLY, IT IS ORDERED that the plaintiff’s motion to strike defendants’ briefs

for exceeding the page limit (ECF No. 60) is DENIED.

      Dated at Milwaukee, Wisconsin, this 20th day of April, 2022.



                                                s/Lynn Adelman______________
                                                LYNN ADELMAN
                                                United States District Judge



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